    Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 1 of 9




                               Exhibit 43



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
  Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 2 of 9




              DEPARTMENT OF HEALTH AND HUMAN SERVICES




DATE

FROM      Director
          Medicaid Bureau
SUBJECT   Expiration of Pharmacy Reimbursement
          Moratorium--INFORMATION
TO -      All Associate Regional Administrators
          Division of Medicaid

On December 31, 1994 the moratorium expires that prohibits
States from reducing the limits for covered outpatient drugs
or dispensing fees for such drugs under Section 1927(f) of the
Social Security Act. States that wish to modify either the
limits for covered outpatient drugs or dispensing fees for
such drugs should refer to current regulations at
42 CFR 447.301-333.
Regarding the limits for covered outpatient drugs, States may
wish to determine that their estimated acquisition cost (EAC)
levels are current. By definition, EAC means the agency’s
best estimate of the price generally and currently paid by
providers for a drug marketed or sold by a particular
manufacturer or labeler in the package size of drug most
frequently purchased by providers. States wishing to modify
their EAC levels may, among other methods of verification,
audit an appropriate number of pharmacies to determine current
acquisition costs before making modifications to the EAC
levels. Additionally, States will also be able to expand or
develop their own State maximum allowable cost program for
multiple source drugs, as we do currently on the Federal Upper
Limits (FUL) List.
Regarding the establishing of reasonable dispensing fees, in
the preamble to current regulations at 42 CFR 447.301-334, we
stated that while we were deleting requirements that State
agencies first survey dispensing fee costs before modifying
their dispensing fee, we still expect that~States will
continue their present activities to establish a reasonable
dispensing fee level and will document them in their State
Plan. Such activities could include: (i) audits and surveys


                                                           HHC902-0878



                                                                         F
Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 3 of 9




of operational costs; (2) compilation of data regarding
professional salaries and fees; and (3) analysis of compiled
data regarding pharmacy overhead costs, profits, etc. Each
State should establish a dispensing fee to reflect the various
characteristics of that State, e.g. per capita income, realty
costs and other pharmacy operational or overhead costs, etc.
The methods or standards they utilize to establish such fees
are at the discretion of the individual State but should be
documented in support of the State Plan.
In re~erence to the Regional Office oversight responsibilities
concerning EAC levels, regional offices should review the
State documentation and compare the EAC levels with those of
contiguous States as well as other States in the region.
Naturally, any current studies of drug costs should also be
considered. In reference to the oversight responsibilities
regarding dispensing fees, the regional offices .could, among
other things, compare the proposed change to the related price
indices, e.g. the Consumer Price Index (CPI). Any proposed
changes should be compared with the dispensing fees of
contiguous States, or to those of other States within the
region. Any proposed reduction in dispensing fees must be
carefully reviewed to assure that adequate access to pharmacy
services is maintained.
We would also clarify our policy that a dispensing fee
determination must be separate and distinct from the EAC
determination and unrelated to the cost of the drug product.
In every instance, regardless of the State determination of
individual prescription payment limits, the:State must have
established the reasonable dispensing fees which would be used
to determine whether the State is in compliance with the upper
limits as specified in current drug regulations at
42 CFR 447.331.
If you have any questions, please contact Pete Rodler at
410-966-4582.


                               Sally K. Richardson

cc: All Regional Administrators




                                                           HI-IC902-0879
   Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 4 of 9
                                                          Health care
   DEPARTMENT OF HEALTH & HUMAN SERVICES                  Financing Administration


                                                          Region’X
                                                          M/S ]{K-4 3
                                                          2201 Sixth Avenue
                                                          Seattle, WA 98121
    SEP I 5 ~994                                      MOB: RTANNA: jw
                                                      1370



             TITLE XIX STATE AGENCY LETTER NUMBER 94-43



Subject: Expiration of Pharmacy Reimbursement Moratorium


On December 31, 1994 the moratorium expires that prohibits States
from reducing the limits for covered outpatient drugs or dispensing
fees for such drugs under Section 1927(f) of the Social Security
Act. States that wish to modify either the limits for covered
outpatient drugs or dispensing fees for such drugs should refer to
current regulations at 42 CFR 447.301-333.
Regarding the limits for covered outpatient drugs, States may wish
to determine that their estimated acquisition cost (EAC) levels are
current. By definition, EAC means theagency’s best estimate of
the price generally and currently paid by providers for a drug
marketed or sold by a particular manufacturer or labeler in the
package size of drug most frequently purchased by providers.
States wishing to modify their EAC levels may, among other methods
of verification, audit an appropriate number of. pharmacies to
determine current acquisition costs before making modifications to
the EAC levels. Additionally, States will also be able to expand
or develop their own State maximum allowable cost program for
multiple source drugs, as we do currently on the Federal Upper
Limits (FUL) List.
Regarding the establishing of reasonable dispensing fees, in the
preamble to current regulations at 42 CFR 447.301-334, we stated
that while we were deleting requirements that State agencies first
survey dispensing fee costs before modifying their dispensing fee,
we stillexpect that States will continue their present activities
to establish a reasonable dispensing fee level and will document
them in their State Plan.




                                                            HHC019-0150
   Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 5 of 9




Such activities could include: (i) audits and surveys of
operational costs; (2) compilation of data regarding professional
salaries and fees; and (3) analysis of compiled data regarding
pharmacy overhead costs, profits, etc. Each State should establish
a dispensing fee to reflect the various characteristics of that
State, e.g. per capita income, realty costs and other pharmacy
operational or overhead costs, etc. The methods or standards they
utilize to establish such fees are at the discretion of the
individual State but should be documented in support of the State
Plan.
We would also clarify our policy that a dispensing                  fee
determination must be separate and distinct from the                EAC
determination and unrelated to the cost of the drug product.         In
every instance, regardless of the State determination of individual
prescription payment limits, the State must have established the
reasonable dispensing fees which would be used to determine whether
the State is in compliance with the upper limits as specified in
current drug regulations at 42 CFR 447.331.
If you have any questions, please call Robert Tanna at (206) 615-
2339.


                          ~Shandrow, Acting
                           Associate Regional Administrator
                           Division of Medicaid




                                                            HHC019-0151
       Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 6 of 9


                                                              HEALTH CARE FINANCI
       DEPARTMENT OF HEALTH & HUMAN SERVICES                  ADMINISTR.ATION

                                                               Dl~ston ol Medicaid

                                                               Region 1
                                                               John F. Kennedy Federal Bldg.
                                                               Governmen! Center
                                                               Boston. MA 02203
              STATE MEDICAID AGENCY REGIONAL BULLETIN
                               NO. 94 - 25
TO :          All Medicaid State Agencies     Date:    September 6, 1994
FROM:         Associate Regional Administrator, Region I
              Health Care Financing Administration
 SUBJECT: Expiration of Pharmacy Reimbursement Moratorium


On December 31, 1994 the moratorium expires that prohibits
States from redueing the limits for covered outpatient drugs
or dispensing fees for such drugs under Section 1927(f) of the
Social Security Act. States that wish to modify either the
limits for covered outpatient drugs or dispensing fees for
such drugs should refer to current regulations at
42 CFR 447.301-333.
Regarding the limits for covered outpatient drugs, States may
wish to make sure that their estimated acquisition cost (EAC)
levels are current. By definition, EAC means the agency’s
best estimate of the price generall~ and currently paid by.
providers for a drug marketed or sold by a particular
manufacturer or labeler in the package size of the drug most
frequently purchased by providers. States wishing to modify
their EAC levels may, among other methods of verification,
audit an appropriate number of pharmacies to determine current
acquisition costs before making modifications to the EAC
levels. Additionally, States will also be able to expand or
develop their own State maxim~a allowable cost Program for
multiple source drugs, as we do currently on the Federalupper
Limits (FUL) List.
 Regarding the establishing of reasonable dispensing fees, we
 expect that States will continue their present activities to
 establish a reasonable dispensin~ fee level and that they will
 document this in their State plan. Such activities could include:
 (i) ~udits and surveys of operational costs; (2) compilation of
. data regarding professional salaries and fees; and (3) analysis
 of compiled data regarding pharmacy overhead costs, profits, etc.
 Each State should establish a dispensing fee to reflect the
 various characteristics of that State, e.g. per capita i~come,




                                                                HHC006-0428
   Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 7 of 9




realty COSTS, other pharmacy operational or overhead costs, etc.
The methods or standards you. utillze %o establish s~ch fees are
at the discretion of the individual State but should be
documented in support of the State Plan.

Regional Office oversight responsibilities concerning EAC levels
will involve review of the State documentation and a comparison
of the EAC levels with those of contiguous States as well as
other. States in the region. Any current studies of drug costs
will also be considered. In regard to the oversight
responsibilities on dispensing fees, the Regional Office will
compare the proposed change to the related price indices, e.g.
the Consumer Price Index (CPI). Any proposed ch@nges will be
compared with the dispensing fees of contiguous States, or to
those of other States within the region. Proposed reductions in
dispensing fees will be carefully reviewed to assure th&t
adequate access to pharmacy services is maintained.
We would like to clarify HCFA policy that a dispensing fee
determination must be separate and distinct from the EAC
determination and unrelated to the cost of the dr~g product.
In every instance, regardless of the State determination of
individual prescription payment limits, the State must have
established the reasonable dispensing fees which would be used
to determine whether the State is in compliance with the upper
limits as specified in current drug regulations at
42 CFR 447.331.
If you have any questions, please contact R~y~Pprter at 617



                                Ronald Preston
cc: S. Kaplan




                                                           HHC006-0429
.
    Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 8 of 9
.
    Case 1:01-cv-12257-PBS Document 6528-44 Filed 09/22/09 Page 9 of 9
